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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

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          In re                                              :   Chapter 11
                                                             :
DELPHI CORPORATION, et al.,                                  :   Case No. 05-44481 (RDD)
                                                             :
                                         Debtors.            :   (Jointly Administered)
                                                             :
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          ORDER PURSUANT TO 11 U.S.C. § 502(b) AND FED. R. BANKR. P. 3007
       DISALLOWING AND EXPUNGING CERTAIN (A) DUPLICATE AND AMENDED
         CLAIMS, (B) INSUFFICIENTLY DOCUMENTED CLAIMS, (C) CLAIMS NOT
    REFLECTED ON DEBTORS' BOOKS AND RECORDS, (D) UNTIMELY CLAIM, AND (E)
    CLAIMS SUBJECT TO MODIFICATION, TAX CLAIMS SUBJECT TO MODIFICATION,
    MODIFIED CLAIMS ASSERTING RECLAMATION, CONSENSUALLY MODIFIED AND
      REDUCED TORT CLAIMS, AND LIFT STAY PROCEDURES CLAIMS SUBJECT TO
       MODIFICATION IDENTIFIED IN TWENTIETH OMNIBUS CLAIMS OBJECTION

                      ("TWENTIETH OMNIBUS CLAIMS OBJECTION ORDER")

                   Upon the Twentieth Omnibus Objection Pursuant To 11 U.S.C. § 502(b) And Fed.

R. Bankr. P. 3007 To Certain (A) Duplicate And Amended Claims, (B) Insufficiently

Documented Claims, (C) Claims Not Reflected On Debtors' Books And Records, (D) Untimely

Claim, And (E) Claims Subject To Modification, Tax Claims Subject To Modification, Modified

Claims Asserting Reclamation, Consensually Modified And Reduced Tort Claims, And Lift Stay

Procedures Claims Subject To Modification, dated August 24, 2007 (the "Twentieth Omnibus

Claims Objection"),1 of Delphi Corporation and certain of its subsidiaries and affiliates, debtors

and debtors-in-possession in the above-captioned cases (collectively, the "Debtors"); and upon



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      Capitalized terms used and not otherwise defined herein shall have the meanings ascribed to them in the
      Twentieth Omnibus Claims Objection.
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the record of the hearing held on the Twentieth Omnibus Claims Objection; and after due

deliberation thereon; and good and sufficient cause appearing therefor,

        IT IS HEREBY FOUND AND DETERMINED THAT:2

                 A.       Each holder of a claim, as such term is defined in 11 U.S.C. § 101(5) (as

to each, a "Claim"), listed on Exhibits A, B-1, B-2, C-1, C-2, C-3, D, E-1, E-2, E-3, E-4, E-5, F-1,

F-2, F-3, F-4, F-5, F-6, F-7, and F-8, hereto was properly and timely served with a copy of the

Twentieth Omnibus Claims Objection, a personalized Notice Of Objection To Claim, a copy of

the Order Pursuant to 11 U.S.C. § 502(b) And Fed. R. Bankr. P. 2002(m), 3007, 7016, 7026,

9006, 9007, And 9014 Establishing (i) Dates For Hearings Regarding Objections To Claims And

(ii) Certain Notices And Procedures Governing Objections To Claims (Docket No. 6089) (the

"Claims Objection Procedures Order"), the proposed order granting the Twentieth Omnibus

Claims Objection, and notice of the deadline for responding to the Twentieth Omnibus Claims

Objection. No other or further notice of the Twentieth Omnibus Claims Objection is necessary.

                 B.       This Court has jurisdiction over the Twentieth Omnibus Claims Objection

pursuant to 28 U.S.C. §§ 157 and 1334. The Twentieth Omnibus Claims Objection is a core

proceeding under 28 U.S.C. § 157(b)(2). Venue of these cases and the Twentieth Omnibus

Claims Objection in this district is proper under 28 U.S.C. §§ 1408 and 1409.

                 C.       The Claims listed on Exhibit A hereto under the column heading "Claim

To Be Expunged" are either duplicates of other Claims filed with this Court or have been

amended or superseded by later-filed Claims.




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    Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as findings
    of fact when appropriate. See Fed. R. Bankr. P. 7052.


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               D.       The Claims listed on Exhibit B-1 contain insufficient documentation to

support the Claims asserted (the "Insufficiently Documented Claims").

               E.       The Claim listed on Exhibit B-2 hereto contains insufficient

documentation to support the Claim asserted and was also untimely filed pursuant to the Bar

Date Order (the "Untimely Insufficiently Documented Claim").

               F.       The Claims listed on Exhibit C-1 hereto contain liabilities or dollar

amounts that are not reflected on the Debtors' books and records (the "Books And Records

Claims").

               G.       The Claims listed on Exhibit C-2 hereto contain liabilities or dollar

amounts that are not reflected on the Debtors' books and records and were also untimely filed

pursuant to the Bar Date Order (the "Untimely Books And Records Claim").

               H.       The Claims listed on Exhibit C-3 hereto, which were filed by taxing

authorities, contain liabilities or dollar amounts that are not reflected on the Debtors' books and

records and were also untimely filed pursuant to the Bar Date Order (the "Untimely Books And

Records Tax Claims").

               I.       The Claim listed on Exhibit D hereto was untimely filed pursuant to the

Bar Date Order (the "Untimely Claim").

               J.       The Claims listed on Exhibit E-1 hereto (a) state the incorrect amount or

are overstated, including as a result of the assertion of invalid unliquidated claims, and/or (b)

were filed and docketed against the wrong Debtors, and/or (c) incorrectly assert secured or

priority status (the "Claims Subject To Modification").

               K.       The Tax Claims listed on Exhibit E-2 hereto are overstated and/or

incorrectly assert secured or priority status (the "Tax Claims Subject To Modification").



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                L.      The Claims listed on Exhibit E-3 hereto (a) (i) state the incorrect amount

or are overstated, including as a result of the assertion of invalid unliquidated claims, and/or (ii)

were filed and docketed against the wrong Debtor, and/or (iii) incorrectly assert secured or

priority status and (b) assert a reclamation demand and either (i) the Debtors and the Claimant

have entered into a letter agreement whereby the Debtors and the Claimant agreed upon the valid

amount of the reclamation demand or (ii) the Claimant is deemed to have consented to the

Debtors' determination of the valid amount of the reclamation demand (with respect to (b)(i) and

(ii), each, a "Reclamation Agreement"), subject to the Debtors' right to seek, at any time and

notwithstanding the Claimant's agreement or consent to the amount pursuant to the relevant

Reclamation Agreement, a judicial determination that certain reserved defenses with respect to

the reclamation demand are valid (the "Modified Claims Asserting Reclamation").

                M.      The Claims listed on Exhibit E-4 hereto are overstated and/or were filed

and docketed against the wrong Debtor (the "Consensually Modified And Reduced Tort

Claims").

                N.      The Claims listed on Exhibit E-5 hereto were settled pursuant to the Order

Approving Procedures For Modifying Automatic Stay Under 11 U.S.C. § 362 To Allow For (I)

Liquidating And Settling And/Or (II) Mediating Of Certain Prepetition Litigation Claims

(Docket No. 4366) (the "Lift Stay Order"), entered on June 27, 2006 (the "Lift Stay Procedures

Claims Subject To Modification").

                O.      The relief requested in the Twentieth Omnibus Claims Objection and

granted herein is in the best interests of the Debtors, their estates, their creditors, and other

parties-in-interest.




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        NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED

THAT:

                1.      Each "Claim To Be Expunged" listed on Exhibit A hereto is hereby

disallowed and expunged in its entirety. Those Claims identified on Exhibit A as "Surviving

Claims" shall remain on the Debtors' claims register, but shall remain subject to future objection

by the Debtors and other parties-in-interest.

                2.      Each Insufficiently Documented Claim listed on Exhibit B-1 hereto is

hereby disallowed and expunged in its entirety.

                3.      The Untimely Insufficiently Documented Claim listed on Exhibit B-2

hereto is hereby disallowed and expunged in its entirety.

                4.      Each Books And Records Claim listed on Exhibit C-1 hereto is hereby

disallowed and expunged in its entirety.

                5.      Each Untimely Books And Records Claim listed on Exhibit C-2 hereto is

hereby disallowed and expunged in its entirety.

                6.      Each Untimely Books And Records Tax Claim listed on Exhibit C-3

hereto is hereby disallowed and expunged in its entirety.

                7.      The Untimely Claim listed on Exhibit D hereto is hereby disallowed and

expunged in its entirety.

                8.      Each "Claim As Docketed" amount, classification, and Debtor listed on

Exhibit E-1 hereto is hereby revised to reflect the amount, classification, and Debtor listed as the

"Claim As Modified." No Claimant listed on Exhibit E-1 shall be entitled to (a) recover for any

Claim Subject to Modification in an amount exceeding the dollar value listed as the "Modified

Total" of the Claim, and/or (b) assert a classification that is inconsistent with that listed in the



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"Claim As Modified" column, and/or (c) assert a Claim against a Debtor whose case number is

not listed in the "Claim As Modified" column on Exhibit E-1, subject to the Debtors' right to

further object to each such Claim Subject to Modification. The Claims Subject to Modification

shall remain on the claims register, and shall remain subject to future objection by the Debtors

and other parties-in-interest.

               9.      Each "Claim As Docketed" amount and Debtor listed on Exhibit E-2

hereto is hereby revised to reflect the amount and classification listed as the "Claim As

Modified." No Claimant listed on Exhibit E-2 shall be entitled to (a) recover for any Tax Claim

Subject to Modification in an amount exceeding the dollar value listed as the "Modified Total" of

the Claim and/or (b) assert a classification that is inconsistent with that listed in the "Claim As

Modified" column on Exhibit E-2, and/or (c) assert a Claim against a Debtor whose case number

is not listed in the "Claim As Modified" column on Exhibit E-2, subject to the Debtors' right to

further object to each such Tax Claim Subject to Modification. The Tax Claims Subject to

Modification shall remain on the claims register, and shall remain subject to future objection by

the Debtors and other parties-in-interest.

               10.     Each "Claim As Docketed" amount, classification, and Debtor listed on

Exhibit E-3 hereto is hereby revised to the amount, classification, and Debtor listed as the "Claim

As Modified." No Claimant listed on Exhibit E-3 shall be entitled to (a) recover for any

Modified Claim Asserting Reclamation in an amount exceeding the dollar value listed as the

"Modified Total" of the Claim, unless the Debtors obtain an order of this Court providing that

any Reserved Defense is valid and denying priority status to such Claimant's reclamation

demand, and/or (b) assert a classification that is inconsistent with that listed in the "Claim As

Modified" column on Exhibit E-3, and/or (c) assert a Claim against a Debtor whose case number



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is not listed in the "Claim As Modified" column on Exhibit E-3, subject to the Debtors' right to

further object to each such Modified Claim Asserting Reclamation. The Modified Claims

Asserting Reclamation shall remain on the claims register, and shall remain subject to future

objection by the Debtors and other parties-in-interest.

               11.     Each "Claim As Docketed" amount, classification, and Debtor listed on

Exhibit E-4 hereto is hereby revised to the amount and Debtors listed as the "Claim As

Modified." No Claimant listed on Exhibit E-4 shall be entitled to (a) recover for any

Consensually Modified And Reduced Tort Claim in an amount exceeding the dollar value listed

as the "Modified Total" of the Claim and/or (b) assert a classification that is inconsistent with

that listed in the "Claim As Modified" column on Exhibit E-4, and/or (c) assert a Claim against a

Debtor whose case number is not listed in the "Claim As Modified" column on Exhibit E-4. The

Consensually Modified And Reduced Tort Claims shall remain on the claims register.

               12.     Each "Claim As Docketed" amount, classification, and Debtor listed on

Exhibit E-5 hereto is hereby revised to the amount listed as the "Claim As Modified." No

Claimant listed on Exhibit E-5 shall be entitled to (a) recover for any Lift Stay Procedures Claim

Subject To Modification in an amount exceeding the dollar value listed as the "Modified Total"

of the Claim and/or (b) assert a classification that is inconsistent with that listed in the "Claim As

Modified" column on Exhibit E-5, and/or (c) assert a Claim against a Debtor whose case number

is not listed in the "Claim As Modified" column on Exhibit E-5. The Lift Stay Procedures

Claims Subject To Modification shall remain on the claims register.

               13.     With respect to each Claim for which a Response to the Twentieth

Omnibus Claims Objection has been filed and served, and which has not been resolved by the

parties, all of which Claims are listed on Exhibits F-1, F-2, F-3, F-4, F-5, F-6, F-7, and F-8,



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hereto, the hearing regarding the objection to such Claims shall be adjourned to a future hearing

date to be noticed by the Debtors consistent with and subject to the Claims Objection Procedures

Order; provided, however, that such adjournment shall be without prejudice to the Debtors' right

to assert that any such Responses were untimely or otherwise deficient under the Claims

Objection Procedures Order.

               14.     Entry of this order is without prejudice to the Debtors' right to object, on

any grounds whatsoever, to any other claims in these chapter 11 cases or to further object to

Claims that are the subject of the Twentieth Omnibus Claims Objection.

               15.     Nothing contained herein shall constitute, nor shall it be deemed to

constitute, the allowance of any Claim asserted against any of the Debtors.

               16.     This Court shall retain jurisdiction over the Debtors and the holders of

Claims subject to the Twentieth Omnibus Claims Objection to hear and determine all matters

arising from the implementation of this order.

               17.     Each of the objections by the Debtors to each Claim addressed in the

Twentieth Omnibus Claims Objection and attached hereto as Exhibits A, B-1, B-2, C-1, C-2, C-3,

D, E-1, E-2, E-3, E-4, E-5, F-1, F-2, F-3, F-4, F-5, F-6, F-7, and F-8, constitutes a separate

contested matter as contemplated by Fed. R. Bankr. P. 9014. This order shall be deemed a

separate order with respect to each Claim that is the subject of the Twentieth Omnibus Claims

Objection. Any stay of this order shall apply only to the contested matter which involves such

Claim and shall not act to stay the applicability or finality of this order with respect to the other

contested matters covered hereby.

               18.     Kurtzman Carson Consultants LLC is hereby directed to serve this order,

including exhibits, in accordance with the Claims Objection Procedures Order.



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               19.    The requirement under Rule 9013-1(b) of the Local Bankruptcy Rules for

the United States Bankruptcy Court for the Southern District of New York for the service and

filing of a separate memorandum of law is deemed satisfied by the Twentieth Omnibus Claims

Objection.




Dated: New York, New York
       September 28, 2007

                                      ____/s/Robert D. Drain_______________________
                                         UNITED STATES BANKRUPTCY JUDGE




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